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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


  GOVERNMENT ACCOUNTABILITY &
  OVERSIGHT,

                         Plaintiff,

                  v.                                        Civil Action No. 24-1829 (RDM)

  UNITED STATES DEPARTMENT OF
  ENERGY,

                         Defendant.


                                      MOTION TO STAY

       Defendant Department of Energy, through undersigned counsel, respectfully moves this

Court to stay its response to Plaintiff’s motion for judgment on the pleadings, pending the Court’s

decision on Defendant’s motion for consolidation. Defendant’s deadline to respond to Plaintiff’s

motion for judgment on the pleadings is September 20, 2024. This is one of eight Freedom of

Information Act (“FOIA”) lawsuits brought by the same requester against the same agency

defendant seeking substantially the same or similar electronic records. On September 13, 2024,

the Government filed its motion for consolidation in this case. See Def.’s Mot. (ECF No. 12). The

Court has ordered Plaintiff to respond to the motion on or before September 27, 2024, and the

parties are set to appear for a hearing on October 1, 2024. Judicial economy and conservation of

the parties’ resources counsel in favor of staying resolution of the motion for judgment on the

pleadings until the motion to consolidate is resolved—at which point the parties will be better

positioned to propose further proceedings in this lawsuit, if necessary.

       Pursuant to Local Civil Rule 7(m), the parties have conferred about the instant motion, and

Plaintiff, through counsel, opposes the requested relief.
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                                        BACKGROUND

       Plaintiff flooded this Court with eight separate actions seeking documents and

correspondence within the Department of Energy related to a purported 2023 liquefied natural gas

(“LNG”) export study that Plaintiff claims was buried by senior agency officials to justify a pause

of LNG export authorizations (“LNG Pause”):

       Case           File               FOIA Request No. / Date                  FOIA Claim
       No.            Date             Sought Records on LNG Pause

 1.   24-1829    June 25, 2024    HQ-2024-02097-F dated June 7, 2024:           Expedited
      (RDM)                       Emails and report                             processing

 2.   24-1887    June 28, 2024    HQ-2024-02116-F dated June 11, 2024:          Expedited
      (APM)                       Calendar entries                              processing

 3.   24-1926    July 1, 2024     HQ-2024-02165-F dated June 13, 2024:          Expedited
      (JMC)                       Text messages                                 processing

 4.   24-1957    July 3, 2024     HQ-2024-02254-F dated June 14, 2024:          Expedited
      (RC)                        Non-email, non-text message                   processing
                                  correspondence

 5.   24-2027    July 12, 2024    HQ-2024-02116-F dated June 11, 2024:          Duty to provide
      (APM)                       Calendar entries                              records

 6.   24-2039    July 13, 2024    HQ-2024-02097-F dated June 7, 2024:           Duty to provide
      (RDM)                       Emails and report                             records

 7.   24-2099    July 17, 2024    HQ-2024-02254-F dated June 14, 2024:          Duty to provide
      (RC)                        Non-email, non-text message                   records
                                  correspondence

 8.   24-2077    July 17, 2024    HQ-2024-02165-F dated June 13, 2024:          Duty to provide
      (JMC)                       Text messages                                 records


       Plaintiff submitted the FOIA request at issue in this lawsuit, Civil Action No. 24-1829, on

June 7, 2024, and filed a complaint on June 25, 2024. See Compl. (ECF No. 1). Plaintiff submitted

the remaining three FOIA requests in the span of a week, between June 11, 2024, and June 14,




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2024, and filed the remaining seven lawsuits over approximately three weeks—between June 28,

2024, and July 17, 2024. In each of these lawsuits, Plaintiff waited twenty-three business days or

fewer after submitting its FOIA request to the agency before initiating legal action.

                                       LEGAL STANDARDS

        “The District Court has broad discretion to stay proceedings as an incident to its power to

control its own docket.” Clinton v. Jones, 520 U.S. 681, 706 (1997). A decision on whether to

stay a case rests on considerations of “economy of time and effort for [the Court], for counsel, and

for litigants.” Landis v. N. Am. Co., 299 U.S. 248, 254 (1936).

        Among other factors that bear on whether to issue a stay include whether there are “cogent

reasons to fear the effects of delay.” 18A Arthur Wright et al., Fed. Prac. & Proc. Juris. § 4433

(3d ed. Apr. 2022 update); accord Univ. of Colo. Health at Mem’l Hosp. v. Burwell, 233 F. Supp.

3d 69, 88 (D.D.C. 2017) (same). “Indeed, ‘[a] trial court may, with propriety, find it is efficient

for its own docket and the fairest course for the parties to enter a stay of an action before it, pending

resolution of independent proceedings which bear upon the case.” IBT/HERE Emp.

Representatives’ Council v. Gate Gourmet Div. Ams., 402 F. Supp. 2d 289, 292 (D.D.C. 2005);

see also Hisler v. Gallaudet Univ., 344 F. Supp. 2d 29, 35 (D.D.C. 2004). Notably, delay itself is

not weighty enough to outweigh the harms to the affected agency (the Department of Energy) and

the public interest that denying a stay would cause. See United States v. Philip Morris Inc., 314

F.3d 612, 622 (D.C. Cir. 2003) (“A mere assertion of delay does not constitute substantial harm”

for purposes of a motion to stay).

                                            ARGUMENT

        Good cause exists for granting the requested stay here. The parties filed a Joint Status

Report on September 13, 2024. That same day, the Government filed its motion to consolidate




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most if not all eight FOIA cases noted above.1 In that motion, the Government explained the

grounds for consolidation of the cases based on the fact that they involve the same subject matter

(information about a purported 2023 LNG export study and the alleged “suppression of

inconvenient expert analysis”), the same or overlapping groups of custodians, the same defendant

agency, the same date range (for three of the four FOIA requests), the same program offices, and

the same plaintiff/requester.

       Depending on the outcome of that motion, the Government may be spared the time and

resources dedicated to preparing separate responsive pleadings in the seven other substantially

similar lawsuits. Also, if all cases are consolidated, the Government can submit a single status

report that informs both the Plaintiff and the Court on the progress of the processing in each of

Plaintiff’s related FOIA requests. And should any issues remain in dispute between the parties on

the Government’s responses to Plaintiff’s FOIA requests, those issues can be resolved through a

single briefing schedule on summary judgment—as opposed to upwards of eight different

summary judgment briefings if the cases are not consolidated, or multiple rounds of motions for

judgment on the pleadings. Another judge in this District recently agreed and stayed the

Government’s response deadline in two related actions pending the outcome of consolidation. See

Government Accountability & Oversight v. Department of Energy, Civ. A. No. 24-1926 (JMC)

(D.D.C. Sept. 16, 2024, Min. Order) (“Having considered the motion, and for good cause shown,

the Court GRANTS the motion over Plaintiff's objection. Defendant has filed a motion to

consolidate several related FOIA cases, including this one, in No. 24-CV-1829. ‘The District Court

has broad discretion to stay proceedings as an incident to its power to control its own docket,’



1
        Even if the Court is not inclined to consolidate all eight lawsuits, Defendant intends to
alternatively move for consolidation of a subset of the remaining cases.


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Clinton v. Jones, 520 U.S. 681, 706 (1997), including ‘to enter a stay of an action... pending

resolution of independent proceedings which bear upon the case,’ IBT/HERE Emp.

Representatives’ Council v. Gate Gourmet Div. Americas, 402 F. Supp. 2d 289 (D.D.C. 2005).

The Court therefore finds it appropriate to stay all deadlines in this matter, pending resolution of

Defendant’s motion for consolidation in 24-CV-1829.”); see also Government Accountability &

Oversight v. Department of Energy, Civ. A. No. 24-2077 (JMC) (D.D.C. Sept. 16, 2024, Min.

Order) (same).

        Moreover, Plaintiff has filed substantially similar motions for judgment on the pleadings

in both this action (ECF No. 10) as well another case, Civil Action No. 24-1887 (APM) (ECF No.

11). Both actions are premised on Plaintiff’s denial of expedited processing. Accordingly, a stay

in this matter will allow the parties to brief the issue of consolidation before resolution of the

pending motion for judgment on the pleadings and allow the Court to rule on the merits of that

request before proceeding further across eight related lawsuits. It will also conserve resources

because if consolidated, it would allow one jurist as opposed to multiple, to render a decision on

the merits of Plaintiff’s motion for judgment on the pleadings, which will ensure consistency and

conserve judicial resources. At present, the parties have a status conference scheduled in this case

on October 1, 2024, at which point the Court may be poised to render a determination on the merits

of the Government’s motion for consolidation. If the Court declines to consolidate the actions, the

Court can set a deadline for Defendant’s response to the motion for judgment on the pleadings at

that time, thus negating any extended delay Plaintiff may claim to suffer in light of this request to

stay.

        Indeed, any delay that may result from granting a stay does not counsel against a stay here.

As the D.C. Circuit has noted, “[a] mere assertion of delay does not constitute substantial harm”




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for purposes of a motion to stay. To the contrary, permitting the Court in this action (the “lead”

case) to consider fully the issue of consolidation will conserve both the Court and the parties’

resources before each of the eight related lawsuits advance too far down eight separate paths.

                                         CONCLUSION

       For the foregoing reasons, Defendant respectfully requests that this Court grant the instant

motion and stay Defendant’s response to Plaintiff’s motion for judgment on the pleadings.

Defendant further respectfully requests that this Court order that the parties submit a Joint Status

Report within twenty-eight days of resolution of the motion to consolidate to propose further

proceedings, if necessary. A proposed order is enclosed.

 Dated: September 17, 2024                      Respectfully submitted,
 Washington, D.C.
                                                MATTHEW M. GRAVES, D.C. Bar #481052
                                                United States Attorney

                                                BRIAN P. HUDAK
                                                Chief, Civil Division

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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


  GOVERNMENT ACCOUNTABILITY &
  OVERSIGHT,

                          Plaintiff,

                  v.                                    Civil Action No. 24-1829 (RDM)

  UNITED STATES DEPARTMENT OF
  ENERGY,

                          Defendant.


                                       [PROPOSED] ORDER

       UPON CONSIDERATION of Defendant’s Motion to Stay, any opposition and replies

thereto, and the entire record herein, it is hereby

       ORDERED that Defendant’s Motion is GRANTED,

       ORDERED that this case remains STAYED; and it is further

       ORDERED that the Parties shall submit a Joint Status Report within 28 days of the

resolution of the Government’s motion to consolidate and to propose further proceedings, if

necessary.

SO ORDERED:



________________                                      ___________________________________
Date                                                  RANDOLPH D. MOSS
                                                      United States District Judge
